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 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
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 In re:                                                              : Chapter 11
                                                                      :
ORION HEALTHCORP, INC.                                               : Case No. 18-71748 (AST)
CONSTELLATION HEALTHCARE TECHNOLOGIES, INC.                          : Case No. 18-71749 (AST)
                                                                     : Case No. 18-71750 (AST)
NEMS ACQUISITION, LLC
                                                                     : Case No. 18-71751 (AST)
NORTHEAST MEDICAL SOLUTIONS, LLC                                      :
NEMS WEST VIRGINIA, LLC
                                                                     : Case No. 18-71752 (AST)
PHYSICIANS PRACTICE PLUS, LLC                                        : Case No. 18-71753 (AST)
PHYSICIANS PRACTICE PLUS HOLDINGS, LLC                               : Case No. 18-71754 (AST)
MEDICAL BILLING SERVICES, INC.                                       : Case No. 18-71755 (AST)
RAND MEDICAL BILLING, INC.                                           : Case No. 18-71756 (AST)
                                                                     : Case No. 18-71757 (AST)
RMI PHYSICIAN SERVICES CORPORATION
                                                                     : Case No. 18-71758 (AST)
WESTERN SKIES PRACTICE MANAGEMENT, INC.                               :
INTEGRATED PHYSICIAN SOLUTIONS, INC.
                                                                     : Case No. 18-71759 (AST)
NYNM ACQUISITION, LLC                                                : Case No. 18-71760 (AST)
NORTHSTAR FHA, LLC                                                   : Case No. 18-71761 (AST)
NORTHSTAR FIRST HEALTH, LLC                                          : Case No. 18-71762 (AST)
VACHETTE BUSINESS SERVICES, LTD.                                     : Case No. 18-71763 (AST)
                                                                     : Case No. 18-71764 (AST)
MDRX MEDICAL BILLING, LLC                                            :
VEGA MEDICAL PROFESSIONALS, LLC                                          Case No. 18-71765 (AST)
                                                                      :
ALLEGIANCE CONSULTING ASSOCIATES, LLC
                                                                     : Case No. 18-71766 (AST)
ALLEGIANCE BILLING & CONSULTING, LLC                                 : Case No. 18-71767 (AST)
PHOENIX HEALTH, LLC                                                  : Case No. 18-71789 (AST)
                                                                      :
                                     Debtors.                        : (Jointly Administered)
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        NOTICE OF APPEARANCE AND DEMAND FOR SERVICE OF PAPERS

       PLEASE TAKE NOTICE, that Allegiance Billing Associates, Inc. appears herein

through its counsel, LaMonica Herbst & Maniscalco, LLP, and demands, pursuant to Rules 2002,

9007 and 9010 of the Federal Rules of Bankruptcy Procedure and section 342 and of Title 11 of

the United States Code (the “Bankruptcy Code”), and any other rules or sections of the

Bankruptcy Code or local rules as may be applicable in this case governing notice, that all notices




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given or requested to be given in this case and all papers and pleadings served or required to be

served in this case be given to and served upon the following:

                                  Salvatore LaMonica, Esq.
                                     Adam. P. Wofse, Esq.
                              LaMonica Herbst & Maniscalco, LLP
                               3305 Jerusalem Avenue, Suite 201
                                  Wantagh, New York 11793
                                    Phone: (516) 826-6500
                                  Facsimile: (516) 826-0222
                                 E-mail: sl@lhmlawfirm.com
                               E-mail: awofse@lhmlawfirm.com

       PLEASE TAKE FURTHER NOTICE, that the foregoing demand includes without

limitation, any notice, application, proposed order, complaint, demand, motion, petition, pleading,

plan of reorganization, disclosure statement or request, whether formal or informal, written or oral

and whether transmitted or conveyed by mail, hand delivery, telephone, facsimile, telegraph or

otherwise filed in this proceeding.

       PLEASE TAKE FURTHER NOTICE, that neither this notice nor any later appearance,

pleading, claim or suit shall waive any right to (1) have final orders in non-core matters entered

only after de novo review by a District Court Judge, (2) trial by jury in any proceeding so triable

in this case or any case, controversy, or proceeding related to this case, (3) have the District Court

withdraw the reference in any matter subject to mandatory or discretionary withdrawal, or (4) any

other rights, claims, actions, defenses, setoffs, or recoupments to which the creditor is or may be

entitled under agreements, in law or in equity, all of which rights, claims, actions, defenses,

setoffs and recoupments are expressly reserved.




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Dated: April 3, 2018
       Wantagh, New York


                                                                    LAMONICA HERBST & MANISCALCO, LLP
                                                                    Attorneys for Allegiance Billing Associates, Inc.


                                                                    By:   s/ Salvatore LaMonica
                                                                          Salvatore LaMonica, Esq.
                                                                          Adam P. Wofse, Esq.
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